                          Case 2:18-cv-01861-ILRL-JCW Document 1-1 Filed 02/21/18 Page 1 of 1
]S 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (.SF.F, INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
St. Charles Surgical Hospital, LLC                                                                        Louisiana Health Serv. & Indem. Co. et al.


    (b~ County of Residence of First Listed Plaintiff Orleans                                                County of Residence of First Listed Defendant    East Baton Rouge
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLA/NTIFF CASES ONL3~
                                                                                                             NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.


M~itC~eWtt~~,siTltarn~ Name, Address, and Telephone Number)                                               MICha2~U1'2Wnown)

One Galleria Blvd., Suite 1100, Metairie, LA 70001                                                        201 St. Charles Avenue, N.O., LA 70170
504-833-5600                                                                                              504-582-8318


II. BASIS OF JURISDICTION (dace an 'x" in OneBor Only)                                        111. Cl'1'1GL~'NJHlY UN~ YK11VC:lYAL YAK'11L+J (Place an "X"in OneBozforPlainti/j
                                                                                                       (For Diversiry~ Cases On(y)                               and One Box,for Defendant)
O 1    U.S. Goverrunent               ~3     Federal Question                                                                    PTF  DEF                                       PTF      DEF
         Plaintiff                             (U.S. Government Not n Party)                      Citizen of This State          [~ 1 (a: 1 Incorporated or Principal Place       O 4     O 4
                                                                                                                                              of Business In This State

O 2    U.S. Government                O 4    Diversity                                             Citizen of Another State          ❑ 2    O   2   Gicorporated and Principal Place    O 5      O 5
         Defendant                             (Indicate Cilrzenship o(Parlies in Rent 1//)                                                           oFBusiness In Another State

                                                                                                   Citizen or Subject of a           O 3    O   3   Foreign Nation                      O 6      O 6
                                                                                                     Forei n Count
TV     NA TTTRF OF RTTTT ipi,.,.~ ,,., ~~~~^ ;~~ n,~,. a„r n~,i,n                                                                           Click here fnc Natime of Suit Cnde Descriptions.
           CON1'RAC"P                                              TORTS                             FORPEITURElPENALTY                      BANKRUPTCY                   UTHER STATUTES
O   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY             O 625 Drug Related Seizure          O 422 Appeal 28 USC 158         O 375 False Claims Act
O   120 Marine                       O 310 Airplane                  O 365 Personal Injury -             of Property 21 USC 88l        O 423 Withdrawal                O 376 Qui Tam (3l USC
O   130 Miller Act                   O 315 Airplane Product                Product Liability       O 690 Other                               28 USC 157                       3729(a))
O   140 Negotiable Instrument               Liability                O 367 Health Care/                                                                                O 400 State Reapportionment
O   150 Recovery of Overpayment      O 320 Assault, LibelBc                Pharmaceutical                                                PROPGR'PY RIGHTS              O 410 Antitrust
        & Enforcement of hidgment           Slander                        Personal Injury                                             O 820 Copyrights                O 430 Banks and Banking
O   151 Medicare Act                 O 330 Federal Employers'              Product Liability                                           O 830 Patent                    O 450 Commerce
O   152 Recovery of Defaulted               Liability                O 368 Asbestos Personal                                           O 835 Patent -Abbreviated       O 460 Deportation
        Student Loans                ❑ 340 Marine                          Injury Product                                                    New Dnig Application      O 470 Racketeer Influenced acid
        (Excludes Veterans)          O 345 Marine Product                  Liability                                                   O 840 Trademark                       Corrupt Organizations
O   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                         LABOR                    SOCIAL SECURITY               O 480 Consumer Credit
        of Veteran's Benefits        O 350 Motor Vehicle             O 370 Other Fraud             O 710 Fair Labor Standards          O 861 HIA (1395f~               O 490 Cable/Sat TV
O   160 Stockholders' Suits          O 355 Motor Vehicle             O 371 Truth in Lending                Act                         O 862 Black Lung (923)          O 850 Securities/Commodities/
O   190 Other Contract                     Product Liability         O 380 Other Personal          O 720 L.abor/Managemen[             O 863 DIWC/DIWW (405(8))               Exchange
O   195 Contract Product Liability   O 360 Other Personal                  Property Damage                 Relations                   O 864 SSID TiNe XVI             O 890 Other Statutory Actions
O   196 Franchise                          Injury                    O 385 Property Damage         D 740 Railway Labor Act             O 865 RSI (405(g))              O 891 Agricultural Acts
                                     O 362 Personal Injury -               Product Liability       O 751 Family and Medical                                            O 893 Environmental Matters
                                           Medical Malpractice                                             Leave Act                                                   O 895 Freedom of Information
        REAL PROPERTY                    CIVIL I2IGHT5                PRISONER PETITIONS           O 790 Other Labor Litigation          FEDERAL TAX SUITS'                   Act
O   2I0 Land Condemn~~tion           O 440 Other Civil Rights          Habeas Cm•pus:              I~ 791 Employee Retirement          O 870 Taxes (U.S. Plaintiff     O 896 Arbitration
O   220 Foreclosure                  O 441 Voting                    O 463 Alien Detainee                 Income Security Act                 or Defendant)            O 899 Administrative Procedure
O   230 Rent Lease &Ejectment        O 442 Employment                O S l0 Motions to Vacate                                          O 87l IRS—Third Party                 AcbReview or Appeal of
O   240 Torts to Land                O 443 Housing/                         Sentence                                                         26 USC 7609                     Agency Decision
O   245 Tort Product Liability             Accommodations            Q 530 General                                                                                     O 950 Constitutionality of
O   290 All Other Real Property      O 445 Amer. w/Disabilities -    O 535 Death Penalty                 IMMIGRATION                                                         State Statutes
                                           Employment                  Other:                      O 462 Naturalization Application
                                     O 446 Amer. w/Disabilities -    O 540 Mandamus &Other         O 46S Other Immigration
                                           Other                     O 550 Civil Rights                  Actions
                                     O 448 Education                 O 555 Prison Condition
                                                                     O 560 Civil Detainee -
                                                                            Conditions of
                                                                           Confinement

V. ORIGIN (Place an '1f" in One Box Only)
O 1 Original              ~2 Removed from                O 3        Remanded from             Q 4 Reinstated or       O 5 Transferred from          O 6 Multidistrict            O 8 Multidistrict
    Proceeding               State Court                            Appellate Court               Reopened                Another District              Litigation -                 Litigation -
                                                                                                                          (.specify)                    Transfer                    Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Dv nut cite jurisdictional statues ~neless ~liversit~):

VI. CAUSE OF ACTION
                                         Brief description of cause:
                                         Demand for benefits under FEHBA and ERISA benefit
VII. REQUESTED IN                        ~ CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                         CHECK YES only if demanded in complaint:

        COMPLAINT:                            ilNDER RULE 23, F.R.Cv.P.                                 411,761.40                              JURY DEMAND:                j~ Yes      O No

VIII. RELATED CASES)
                                            (See inr~ruction.r):
         IF ANY                                                      EDGE                                                                  DOCKET NUMBER
DATE        ._             s7                                          SIGNATURE OF ATTORNEY O                ~,~ORJ~~/~      //,~




    RECEIPT #                     AMOUNT                                   APPLYING IFP                                      JUDGE                         MAG. JUDGE
